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· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
· · · · · · · · · · · · · ·AUSTIN DIVISION
· · ·GIDDY HOLDINGS,· · · · · · · )
· · ·Plaintiff/Counter Defendant· )
· · · · · · · · · · · · · · · · · )
· · ·VS.· · · · · · · · · · · · · )CIVIL ACTION
· · · · · · · · · · · · · · · · · )NO. 1:20-cv-00434
· · ·ERNEST KIM,· · · · · · · · · )
· · ·Defendant/Counter Plaintiff· )
· · · · · · · -----------------------------------------
· · · · · · · · VIDEOTAPED REMOTE ORAL DEPOSITION OF
· · · · · · · · · · · · · ·BRETT JACOBSON
· · · · · · · · · · · · · · JULY 1, 2021
· · · · · · · -----------------------------------------
· · · · · · · ·VIDEOTAPED REMOTE ORAL DEPOSITION OF
· · ·BRETT JACOBSON, produced as a witness at the instance of
· · ·the DEFENDANT, and duly sworn, was taken in the
· · ·above-styled and numbered cause on the 1st day of July,
· · ·2021, from 1:05 p.m. to 5:45 p.m., before Kathryn R.
· · ·Baker, CSR, RPR, in and for the State of Texas, reported
· · ·by machine shorthand, at the offices of Giddy Holdings,
· · ·1209 E Cesar Chavez Street, in the City of Austin, State
· · ·of Texas, pursuant to the Federal Rules of Civil
· · ·Procedure.


                                                                    EXHIBIT E
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·1· ·going on Twitter and publicly posting that we were
·2· ·discriminating against individuals, that we had committed
·3· ·PPP fraud.· And then individually naming our investors and
·4· ·targeting them, including Metta World Peace, who he
·5· ·directly tweeted.
·6· · · · Q.· ·And how did that cause Giddy Holdings to be late
·7· ·in making payroll?
·8· · · · A.· ·We had investors who pulled out.· We had one
·9· ·investor who stopped putting in $250,000, strictly because
10· ·of the litigation and what he, quote, didn't know was
11· ·going to happen as a result of Mr. Kim's allegations,
12· ·which were all fabricated.
13· · · · Q.· ·Okay.· The investor -- who was that investor?
14· · · · A.· ·Philippe McClelland.
15· · · · Q.· ·Did Philippe McClelland, did he ever reinvest
16· ·money back into the company?
17· · · · A.· ·He ended up investing $50,000 a year later.
18· · · · Q.· ·But initially he had invested $250,000?
19· · · · A.· ·$250,000 was contracted, and he was supposed to
20· ·invest it, and he pulled out of the deal as a result of
21· ·Mr. Kim.
22· · · · Q.· ·Okay.· And you mentioned that he also -- he
23· ·pulled out his investment money because of the litigation.
24· · · · · · · · · What litigation are you talking about?
25· · · · A.· ·In the event of litigation as a result of the



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·1· ·claims Mr. Kim was making.
·2· · · · Q.· ·Potential litigation.· At least at that time,
·3· ·potential litigation, correct?
·4· · · · A.· ·Yes.
·5· · · · Q.· ·Okay.· And how did that cause Giddy Holdings to
·6· ·not be able to make payroll?
·7· · · · A.· ·Because all of a sudden we had a deficit of
·8· ·cash.· We had over a half-a-million dollars that didn't
·9· ·get invested because of Mr. Kim's direct actions.· Despite
10· ·the fact that we had proven numerous things about him to
11· ·be false, they still said, Well, we have to wait and see.
12· ·So him lying about being in the World Trade Center when it
13· ·collapsed -- yeah, you're shaking your head.· Yeah,
14· ·that's --
15· · · · Q.· ·I'm trying to keep up.· I'm not --
16· · · · A.· ·Yeah, it's hard to keep up with all Mr. Kim's
17· ·lies.
18· · · · Q.· ·Okay.
19· · · · · · · · · MR. ERICK:· Object, nonresponsive.
20· · · · A.· ·It's not funny.· I -- I had friends who died in
21· ·the World Trade Center, sir.· So when somebody lies and
22· ·says they were in the World Trade Center, when they lie
23· ·about that, that's not a joke to me.· Those are my
24· ·friends.
25· · · · Q.· ·(BY MR. ERICK)· ·Other than Philippe McClelland,



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·1· · · · Q.· ·(BY MR. ERICK)· ·Okay.· What -- I mean, can you
·2· ·see -- I mean, I'm assuming you can see or re-create --
·3· ·see the files that he deleted from the cloud.
·4· · · · · · · · · Can you do that?
·5· · · · A.· ·No, not when they're deleted.· I know what files
·6· ·he had and I know what files he had access to.· And we
·7· ·know what files were created by other people, and they're
·8· ·gone.
·9· · · · Q.· ·Okay.· So there is no record of the actual
10· ·deletion occurring?
11· · · · A.· ·He wiped the computer.
12· · · · Q.· ·No, not the computer.· I'm asking -- I'm just
13· ·focused on the cloud, the system that you used to share
14· ·documents or other information?
15· · · · A.· ·Okay.· I think in order to, it's like, delve
16· ·into this, we would literally need, it's like, a computer
17· ·expert to speak to, because they would understand -- and I
18· ·don't mean any disrespect -- the terminology for these
19· ·things and what can be accessed and cannot be accessed.
20· · · · · · · · · If I -- it's like, in a hypothetical
21· ·situation, somebody, it's like, stole your bank, it's
22· ·like, card and were to go and make changes, it's like,
23· ·that is an ongoing system that tracks information, so you
24· ·would be able to see whether or not somebody made charges
25· ·to your card.· And it's all recorded, multiple people can



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